                 Case 1:19-cr-00017-DLF Document 1 Filed 01/22/19 Page 1 of 1




                                UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA                             CRIMINAL NO.



BRIAN JAMES LAPRATH.                                 VIOLATION:    18 U.S.C. $ 1956(a)(2)(A)
       Defendant.                                    (Laundering of Monetary I nstru ments)


                                              INFORMATION

       The United States Attorney charges that:

                                                Count One

       On or about June 29,       201   6, in the District of Columbia, the defendant, BRIAN JAMES

LAPRATH, did transport, transmit, and transfer, and attempted to transport, transmit, and transfer          a


monetary instrument and funds, that is approximately .06 bitcoin, from a place in the United States to or

through a place outside the United States, that is South Korea, with the intent to promote the carrying on

of specified unlawful activity, that is, l8 U.S.C.   S   2252A (relating to child pornography) where the child

pomography contains a visual depiction ofan actual minor engaging in sexually explicit conduct.

       (Laundering of Monetary Instruments, in violation of Title 18, United States Code, Section
        l   es6(a)(2)(A))

                                               Respectful        S   bmitted,




                                        By:
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                                               Zia F aruqul. D.C
                                                                 AT      A
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                                                                        No.494990,
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